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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


PASQUALE T. DEON, SR. and                 Civil Action No.: 1:17-cv-1454-SHR
MAGGIE HARDY MAGERKO,
                                          Honorable Sylvia H. Rambo
                Plaintiffs,
                                          (Electronically Filed)
      v.
DAVID M. BARASCH, KEVIN F.
O’TOOLE, RICHARD G. JEWELL,
SEAN LOGAN, KATHY M.
MANDERINO, MERRITT C.
REITZEL, OBRA S. KERNODLE, IV,
and DANTE SANTONI JR., Members
of the Pennsylvania Gaming Control
Board, in their official capacities;
PAUL MAURO, Director of the
Pennsylvania Gaming Control Board’s
Bureau of Investigation and
Enforcement, in his official capacity;
CYRUS PITRE, Director of the
Pennsylvania Gaming Control Board’s
Office of Enforcement Counsel, in his
official capacity; and
JOSH SHAPIRO, Attorney General of
Pennsylvania, in his official capacity.

                Defendants.



           PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’
                 MOTION FOR STAY PENDING APPEAL
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                                       Overview

        This Court should deny the Defendants’ motion to stay. On September 19,

2018, this Court enjoined enforcement of § 1513 of the Pennsylvania Gaming Act,

declaring that it violates the First Amendment because the “wholesale prohibition

of contributions of any amount by citizens with even an attenuated connection to

the gaming industry far exceeds the necessary scope of a prohibition seeking to

eliminate corruption.” (ECF Nos. 57 at 29-30; 58);1 Deon v. Barasch, 2018 WL

4492946, at *10-11 (M.D. Pa. 2018); see 4 Pa. C.S. § 1513.             This Court’s

injunction freed citizens, such as the Plaintiffs, to participate in our democracy

through political contributions.       Now, after waiting nearly one month, the

Defendants seek to stay this Court’s injunction pending appeal without any

justification for the delay and without any valid basis to justify a reinstatement of

the suppression of First Amendment rights. (ECF Nos. 69, 70.) The Defendants’

cursory motion does not come close to satisfying any of the stay criteria.

        First, the stay motion comes far too late. The Court entered a permanent

injunction nearly one month before the Defendants moved for a stay. (ECF No.

58.)     The Defendants themselves point out that an active election period is

occurring right now, with statewide elections set for November 6, 2018. (ECF No.

70 at 3.) Pennsylvania citizens who might otherwise have been targeted by the


   1
       ECF references are to the docket in this action.
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unconstitutional statute have been free to make contributions without concern

about the statute’s enforcement since the Court’s injunction went into effect. See

Fed. R. Civ. P. 62(a)(1). This dispute presents the type of situation where the

Defendants should have sought an emergency motion for stay or certainly sought a

stay far more quickly than they did. The consequence of their decision to wait

until this late hour is that they are now asking this Court to put back into effect a

restraint on speech that the Court held unconstitutional. There is no basis for such

an extraordinary request and its administration would be virtually impossible given

the freedoms that have now been in place as a result of the injunction.

      Second, the Defendants have not made any showing that they will succeed

on appeal, let alone the “strong showing” required to obtain a stay. Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). They simply rehash a few of the same

arguments that this Court and the Pennsylvania Supreme Court have already

rejected. (ECF No. 57 at 24-31); DePaul v. Commonwealth, 969 A.2d 536, 543-54

(Pa. 2009).

      Third, the Defendants have not shown that they likely will suffer any harm if

a stay is denied. They do not even describe any perceivable harm that might result.

They merely speculate that some type of undefined harm to gaming integrity and

the electoral process might occur if First Amendment rights are not restrained for

the duration of these proceedings.       The Supreme Court requires that they



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demonstrate that there would be some specific example of quid pro quo corruption

or its appearance—meaning an effort by someone to exercise control over a state

official’s performance of required duties. See McCutcheon v. F.E.C., 572 U.S.

185, 192, 207-08 (2014). There is no such showing here.

      Fourth, a stay of this Court’s injunction indisputably would cause

considerable harm to the Plaintiffs because “[t]he loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373-74 (1976).

      Finally, a stay would undermine the public interest, not serve it.       The

Defendants outright admit that they seek a stay for the unconstitutional purpose of

“prevent[ing] a surge of political contributions”—i.e., constitutionally protected

speech—right before a “major state-wide election.” (ECF No. 70 at 3.) That

objective directly contravenes the public interest, because enforcement of § 1513

pending appeal would necessarily “reduce[] the quantity of expression by

restricting the number of issues discussed, the depth of their exploration, and the

size of the audience reached.” Buckley v. Valeo, 424 U.S. 1, 19 (1976).

                                  Background

      This Court is familiar with the background, as set forth in the September 19,

2018 opinion, in which this Court held that Pennsylvania’s complete ban on

political contributions from persons associated with the gaming industry violates



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the First Amendment and thus enjoined enforcement of § 1513. (ECF Nos. 57,

58.) The injunction went into effect immediately and the Court directed the case

be closed. (ECF No. 58.) As a result, anyone previously barred by § 1513 from

making political contribution is now permitted to do so without fear of sanction

from the Commonwealth. See Fed. R. Civ. P. 62(a)(1). On October 17, 2018, the

Defendants appealed this Court’s ruling and moved to stay this Court’s injunction

pending appeal. (ECF Nos. 68, 69, 70.)

                                  Legal Standard

      “A stay [pending appeal] is an intrusion into the ordinary processes of

administration and judicial review.” Nken v. Holder, 556 U.S. 418, 427 (2009)

(internal quotation marks omitted). “[A] stay is not a matter of right, even if

irreparable injury might otherwise result.” Id. at 433 (quoting Virginian R. Co. v.

United States, 272 U.S. 658, 672 (1926)). Determining whether a stay is warranted

instead involves “an exercise of judicial discretion.” Id.

      The propriety of a stay pending appeal hinges on the following factors:

“(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.” Id. at 426, 434

(quoting Hilton, 481 U.S. at 776); see, e.g., Baker v. Adams Cty./Ohio Valley Sch.



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Bd., 310 F.3d 927, 928 (6th Cir. 2002) (applying these factors in First Amendment

context); see also In re Revel AC, Inc., 802 F.3d 558, 568 (3d Cir. 2015). The

moving party bears the burden of showing that a stay is warranted. Nken, 556 U.S.

at 433-34.

                                    Argument

      The Defendants do not and cannot satisfy their burden of showing that the

stay factors justify staying this Court’s injunction pending appeal. Apart from the

threshold point that the Defendants waited far too long (as described above), each

factor weighs strongly against the Defendants’ motion for stay: (i) the Defendants

have minimal likelihood of success on appeal; (ii) denying a stay would cause no

harm to the Defendants’ or the Commonwealth’s protected interests; (iii) granting

a stay would cause considerable and irreparable harm to the Plaintiffs; and

(iv) granting a stay would harm the public interest. This Court therefore should

decline the Defendants’ request to reinstate the Commonwealth’s unconstitutional

ban pending appeal.

I.    The Defendants have not shown a likelihood of success on appeal.

      The Defendants must make a “strong showing that [they are] likely to

succeed on the merits.” Nken, 556 U.S. at 426 (quoting Hilton, 481 U.S. at 776)

(emphasis added); see Republic of Philippines v. Westinghouse Elec. Corp., 949

F.2d 653, 658 (3d Cir. 1991). Such a showing requires “a reasonable chance, or



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probability, of winning” on appeal. Pa. Democratic Party v. Republican Party of

Pa., Civ. No. 16-5664, 2016 WL 6582659, at *5 (E.D. Pa. Nov. 7, 2016) (quoting

In re Revel AC, Inc., 802 F.3d at 568).

      The Defendants cannot establish any reasonable chance of winning on

appeal.   This Court rightfully entered a permanent injunction against the

enforcement of § 1513 on the ground that it violates the First Amendment.2 (ECF

Nos. 57, 58.) Under governing standards, § 1513 is not sufficiently tailored to

achieve the Commonwealth’s purported interest in preventing quid pro quo

corruption. (ECF No. 57 at 24-31.) This Court concluded that Pennsylvania’s

“wholesale prohibition of contributions of any amount by citizens with even an

attenuated connection to the gaming industry far exceeds the necessary scope of a

prohibition seeking to eliminate corruption.”3 (Id. at 29-30 (emphasis added).)

This Court’s decision will be affirmed on appeal. It upholds the First Amendment

and is faithful to Supreme Court precedent. See, e.g., McCutcheon, 572 U.S. at

191, 207-08; Citizens United v. F.E.C., 558 U.S. 310, 339-41, 359-60 (2010);

Buckley, 424 U.S. at 19-21.

 2
    The Plaintiffs certainly agree with the Court’s injunction. As the Court is
aware, the Plaintiffs did articulate a few moderately different grounds that also
supported the injunction. For purposes of the forthcoming appeal, nothing in this
response should be construed as a waiver of any arguments the Plaintiffs made,
and the Plaintiffs preserve all arguments for appeal.
 3
   That same rationale led the Pennsylvania Supreme Court to declare § 1513’s
operative language unconstitutional under state law. DePaul, 969 A.2d at 553-54.


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      District courts should not grant stays pending appeal where the motion

merely “rehashes arguments that have been rejected in multiple forums” and

“fail[s] to provide any reason for the Court to change its conclusion.” United

States v. Judicial Watch, Inc., 241 F. Supp. 2d 15, 16 (D.D.C. 2003).            The

Defendants’ motion here relies exclusively on arguments that this Court rejected,

including that § 1513 is constitutional simply because it is “generally accepted”

that the gaming industry (in other states) has been historically prone to corruption.

(ECF No. 70 at 4.) As this Court already concluded, this argument fails because

(i) the Commonwealth is impermissibly relying on “[m]ere conjecture about the

risk of corruption or its appearance” to justify its sweeping restriction on First

Amendment rights; and (ii) there is “no evidence that, in Pennsylvania, legalized

gaming is uniquely susceptible to corrupt influence.” (ECF No. 57 at 6, 8, 26.)

The Defendants’ vague concerns about general corruption are in any event

insufficient because, as this Court explained, preventing quid pro quo corruption or

its appearance is the only governmental interest sufficient to justify restrictions on

political contributions. (Id. at 10, 29-31.)

      The Defendants once again rely heavily on the same state court decisions

that this Court distinguished, (ECF No. 70 at 4-5), each of which predates

significant developments in First Amendment jurisprudence regarding political

contributions, and each of which addressed different statutory terms that, unlike



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here, were supported by some historical evidence of gaming-related corruption.

(ECF No. 57 at 14-23); see, e.g., Judicial Watch, Inc., 241 F. Supp. 2d at 16. As

this Court ruled, McCutcheon and other modern federal cases compel the

conclusion that § 1513’s complete ban violates the First Amendment. (ECF No. 57

at 24-31); see, e.g., Lodge No. 5 of Fraternal Order of Police ex rel. McNesby v.

City of Phila., 763 F.3d 358, 376-79, 384 (3d Cir. 2014) (enjoining Philadelphia’s

wholesale ban on political contributions by police officers because it was not

closely drawn to achieve the City’s interests in curbing police-related corruption).

II.   The Defendants have not shown that they will be irreparably injured
      absent a stay pending appeal.

      The Defendants must “demonstrate that irreparable injury is likely, not

merely possible, in the absence of a stay.” In re Revel AC, Inc., 802 F.3d at 569

(internal alterations omitted). The Defendants come nowhere near this standard.

They fail even to describe what type of harm would be suffered by anyone, let

alone what harm would be irreparable.

      For starters, the Defendants’ entire argument misconstrues the very nature of

this action. This case was brought under Ex Parte Young, 209 U.S. 123 (1908) and

42 U.S.C. § 1983 to prevent the Defendants in their official capacities from

enforcing an unconstitutional statute. In turn, the Defendants are the very public

officials who have been so enjoined. They cannot be “irreparably harmed” in their

official capacities by being enjoined from enforcing an unconstitutional law. They


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have no official responsibility to effectuate illegal statutes. See, e.g., ACLU v.

Ashcroft, 322 F.3d 240, 251 n.11 (3d Cir. 2003) (“neither the Government nor the

public generally can claim an interest in the enforcement of an unconstitutional

law”) (citation and internal quotation marks omitted). The only way that the

Defendants could possibly show that there was something “irreparable” would be

for them to show that the Court improperly enjoined them—which means the

Court would have to find that the Court wrongly determined the law in its opinion

and order leading to the injunction. The Defendants have not made and cannot

make such a showing.

      Even if the notion of “irreparable harm” made sense in this context, the

Defendants’ supposed concerns are belied by their decision to delay a full month

before seeking a stay. (ECF Nos. 69, 70); see Republican Party of Pa., 2016 WL

6582659, at *4 (“[p]laintiff’s dilatory conduct weighs decidedly against granting

the extraordinary relief it seeks—especially where, as here, an election is

looming”) (internal quotation marks and alterations omitted).         This Court’s

injunction has been in effect since September 19, 2018. (ECF No. 58); see Fed. R.

Civ. P. 62(a)(1).   The Plaintiffs and other individuals affiliated with licensed

gaming have been permitted to make political contributions for more than one

month without fear of sanction. Not only have the Defendants failed to show that

this Court’s injunction has actually led to any quid pro quo corruption or a loss in



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public confidence, but their delay in seeking relief also undermines their purported

concern.

      In any event, the Defendants have shown nothing that could qualify as

irreparable harm in the first place. They mention in passing that, absent a stay, the

public will lose confidence in the “integrity of the gaming industry.” (ECF No. 70

at 6.) That supposed interest is not directed at preventing quid pro quo corruption

and therefore cannot provide constitutional grounds for maintaining § 1513. Nor is

there anything in the record to suggest that the purpose of § 1513 was to secure

public confidence “in the gaming industry.” The supposed point of that provision

was to secure confidence in elected officials by preventing corruption. But even if

securing confidence “in the gaming industry” was part of the statutory purpose, the

Defendants’ engage in rank speculation. They muse with no support that this

Court’s injunction will lead to a “flood” of political contributions to unspecified

campaigns, which in turn will lead somehow to “lost confidence in . . . the fairness

of games at casinos,” which then could cause “patronage to casinos” and tax

revenues to decline. (ECF No. 70 at 5-6.) This type of untethered conjecture

cannot suffice to show that irreparable injury is likely to occur. See, e.g., Phila.

Fire Fighters’ Union Local 22 v. City of Phila., 286 F. Supp. 2d 476, 481-82 (E.D.

Pa. 2003) (rejecting argument that “allowing uniformed [Fire] Department




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employees to make donations to their chosen political candidates would

compromise the integrity of Fire Code inspections”).

       The Defendants also make a passing reference to the notion that somehow

the Court’s injunction will lead to diminished public confidence in the electoral

process (a concern the Defendants should have sought to remedy right away, if it

were true, given the impending election). (ECF No. 70 at 5.) This concern again

has no grounding in any kind of record and thus suffers from the same kind of

evidentiary shortcomings that led the Court to reject the Defendants’ summary

judgment arguments. Plus there cannot be a valid concern over the potential “flow

of political contributions” that the Defendants complain will take place. (ECF No.

70 at 5.)      Political contributions cannot harm the Defendants’ or the

Commonwealth’s interests because they are a constitutionally protected form of

speech, as this Court properly found. (ECF No. 57 at 5, 24-25, 29-31); see

McCutcheon, 572 U.S. at 191 (admonishing that laws “may not regulate

contributions simply to reduce the amount of money in politics”); Buckley, 424

U.S. at 21 (“[a] contribution serves as a general expression of support for the

candidate and his views”).

III.   The Plaintiffs will suffer irreparable harm if this Court’s injunction is
       stayed pending appeal.
       Permitting the Commonwealth to enforce § 1513 pending appeal would

irreparably harm the Plaintiffs. “[T]here is no right more basic in our democracy


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than the right to participate in electing our political leaders.” McCutcheon, 572

U.S. at 191. “The loss of First Amendment freedoms, for even minimal periods of

time, unquestionably constitutes irreparable injury.” Elrod, 427 U.S. at 373; K.A.

ex rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d 99, 113 (3d Cir. 2013)

(same). “The harm is particularly irreparable where, as here, a plaintiff seeks to

engage in political speech, as timing is of the essence in politics and a delay of

even a day or two may be intolerable.” New York Progress & Prot. PAC v. Walsh,

733 F.3d 483, 486 (2d Cir. 2013) (internal quotation marks omitted).

      The harm—established by law as irreparable—is particularly acute in this

case. The Commonwealth will be holding a major statewide election in one week.

(ECF No. 70 at 3.)        As this Court has recognized, the Plaintiffs have a

constitutional right to participate in that election by making political contributions.

(See ECF No. 57 at 5, 25, 29-31.) The Defendants ask for permission to block the

Plaintiffs from exercising their First Amendment right to be full, active participants

in the democratic process. There is no support in the law for the Court to enter

such a draconian order in violation of the very First Amendment rights that the

Court’s injunction vindicates.

      The Defendants mischaracterize their motion as a request to “maintain the

status quo.” (ECF No. 70 at 6.) In this case, “the status quo is a condition not of

rest, but of action.” United States v. Price, 688 F.2d 204, 212 (3d Cir. 1982)



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(internal quotation marks omitted). The status quo for more than thirty days—in

the middle of the election cycle that the Defendants describe—has been that the

Plaintiffs have been permitted to make political contributions. The status quo now

encompasses this Court’s injunction. Staying the injunction would likely lead to

three radical shifts in the Plaintiffs’ ability to exercise their First Amendment

rights—“once from the injunction, another from the stay, and potentially a third

[when] the injunction is reaffirmed after being stayed on appeal.” Ohio State

Conference of NAACP v. Husted, 769 F.3d 385, 389 (6th Cir. 2014). For these

reasons, the Defendants’ stated desire to preserve the status quo in fact weighs

heavily against granting a stay.

      But the Defendants misunderstand the law anyway. Even if the “status quo”

had § 1513 in place and enforceable, there is no prohibition against altering the

status quo.   It is well established that, “where preserving the status quo will

perpetuate harm against the moving party, an order altering the status quo may be

appropriate.” O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389

F.3d 973, 1002 (10th Cir. 2004) (en banc) (citing cases). “[T]he focus always must

be on prevention of injury by a proper order, not merely on preservation of the

status quo.” Id.; United Food & Commercial Workers Union, Local 1099 v. Sw.

Ohio Reg’l Transit Auth., 163 F.3d 341, 348 (6th Cir. 1998).




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       There is no merit to or support for the Defendants’ bold argument, made

without even acknowledging the Plaintiffs’ First Amendment rights, that a stay

will not harm the Plaintiffs because they “have never been able to make political

contributions.” (ECF No. 70 at 6.) The Plaintiffs’ First Amendment rights have

long been denied. The Defendants and the Commonwealth are solely responsible

for that denial, and their efforts to sanction the Plaintiffs for making contributions

have had a chilling effect on the Plaintiffs’ political speech. The fact that the

Commonwealth has abridged the Plaintiffs’ constitutional rights in the past does

not support infringing the Plaintiffs’ rights in the future. The Plaintiffs will suffer

irreparable constitutional harm if the Court grants a stay.

IV.    A stay would be against the public interest.

       Finally, the Defendants fail to show that a stay would serve the public

interest.   See, e.g., Walsh, 733 F.3d at 488.       Instead, they assert that their

unpersuasive and speculative discussion of the second stay factor “clearly

establishes that a stay is in the public interest.” (ECF No. 70 at 7.) In other words,

the Defendants ask this Court to have faith that their widespread effort to abridge

First Amendment rights, mere weeks before a major election, reflects the best

interests of the public.

       This Court’s injunction—not the Defendants’ requested stay—serves the

public interest. “[T]he Third Circuit has held that suppressing protected expression



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does not advance any public interest.” Jamal v. Kane, 105 F. Supp. 3d 448, 463

(M.D. Pa. 2015) (citing cases).       By contrast, “injunctions protecting First

Amendment freedoms are always in the public interest.” Christian Legal Soc’y v.

Walker, 453 F.3d 853, 859 (7th Cir. 2006); see, e.g., Walsh, 733 F.3d at 488

(same). The public interest is served when courts uphold the democratic ideals

underlying the First Amendment, which was ratified “to secure the widest possible

dissemination of information from diverse and antagonistic sources and to assure

unfettered interchange of ideas for the bringing about of political and social

changes desired by the people.” Buckley, 424 U.S. at 49 (internal quotation marks

omitted). By contrast, restrictions on political contributions inherently “reduce[]

the quantity of free expression.” Id. at 19; see Lodge No. 5 of Fraternal Order of

Police ex rel. McNesby, 763 F.3d at 368. This Court should not enter a stay that,

via § 1513, would limit full participation in the political process and adversely

affect the marketplace of ideas that the First Amendment was designed to protect.

                                   Conclusion

      This Court should deny the Defendants’ motion for a stay pending appeal.




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Dated:     October 31, 2018      By: /s/ Nathan Heller
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